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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA



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                                                 )
      Rodney Lail, et al.,                       )
                                                 )
             Plaintiffs,                         )
                                                 )   C.A. No. 10-CV-210-PLF
                    v.                           )
                                                 )
      United States Government, et al.,          )
                                                 )
                                                 )
             Defendants.                         )
                                                 )
                                                 )
                                                 )


         PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
        DEFENDANT JAY SALEEBY’S MOTION TO DISMISS
                      (DOCUMENT No. 38)


      Pro Se plaintiffs in the above captioned civil action hereby file their

Memorandum in Opposition to Pro Se defendant Jay Saleeby’s Motion to

Dismiss. (Doc.38.) The motion must be denied as (1) venue is proper in this

Court, and (2) Saleeby is subject to the personal jurisdiction of this Court, as

set forth below in detail:




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                      I.   Statement of Facts.

      The plaintiffs have carefully reviewed defendant Saleeby’s colorful

misrepresentations and cherry picked facts with slanted interpretations

Saleeby has provided this Court in the Statement of Facts in his Motion to

Dismiss (Document No. 38).

      First and foremost, none of the issues in the above captioned case in

this Court have been litigated in any court despite Saleeby’s distortion in his

Statement of Facts.

      The Plaintiffs disagree with the tenor of Saleeby’s Statement of Facts

and state that the Plaintiffs stand by their second amended complaint and

every point within the second amended complaint. Saleeby’s attempt to

confuse the Court is nothing but an attempt to join litigated and non-litigated

matters and undermine what the Plaintiffs will show is the factual truth of a

civil conspiracy with the hub in Washington, DC. Saleeby has knowingly

participated in conspiratorial acts, which took place with the hub of the

conspiracy geographically, managerially and functionally located in

Washington, DC where the key overt acts were orchestrated and many of the

overt acts took place.




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II.      The Court Must Accept Plaintiffs’ Allegations As True.

         Contrary to defendant Saleeby’s arguments in his motion to dismiss,

the Court must accept as true all the factual allegations in the Complaint

when ruling on a motion to dismiss. In Ashcroft vs. Iqbal the Supreme Court

found:

         “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on

its face.”Ashcroft v. Iqbal, 129 S. Ct. 1937 (U.S. 2009)


         See also, Leatherman v. Tarrant County Narcotics Intelligence

and Coordination Unit, 507 U.S. 163, 113 S.Ct. 1160, 122 L.ED.2d, 517

(1993); United States v. Gaubert, 499 U.S. 315, 327, 111 S.Ct. 1267,

1276, 113 L.Ed.2d. 335 (1991).


III. This Court Has Personal Jurisdiction Over Defendant Jay
Saleeby

            The DC Circuit Court made the criteria clear to establish personal

      jurisdiction in a civil conspiracy in Manook vs. Research Triangle where

      the Court established:

              “For conspiracy jurisdiction within the District of Columbia, the
      plaintiff must allege: (1) the existence of a civil conspiracy; (2) the
      defendant's participation in the conspiracy; and (3) an overt act by a co-
      conspirator within the forum, subject to the long-arm statute, and in
      furtherance of the conspiracy. More importantly, a plaintiff seeking to

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   meet its burden of demonstrating that a court may exercise jurisdiction
   over foreign defendants under a conspiracy theory must present a
   particularized pleading of the conspiracy as well as the overt acts within
   the forum taken in furtherance of the conspiracy.”

   Estate of Manook v. Research Triangle Inst., Int'l, 693 F. Supp. 2d 4
   (D.D.C. 2010)

      First, the complaint makes clear the existence of a civil conspiracy

and Jay Saleeby’s participation in said conspiracy, obviously prior to the

plaintiffs conducting discovery in this case. Beginning in paragraph ¶125 of

the Complaint, Saleeby’s currently known role in the conspiracy is outlined.

The plaintiffs have alleged that defendant Jay Saleeby and other residents of

South Carolina, Virginia, West Virginia, North Carolina and Washington,

DC engaged in this conspiracy to deprive plaintiffs of their property and

their constitutional rights. Consequently, as plaintiffs have alleged the

existence of the conspiracy and the defendant Jay Saleeby’s participation in

that conspiracy, prongs one and two of the Manook test are satisfied and the

plaintiffs claims are plausible.

       Furthermore, the complaint states in detail several of the actions

taken in Washington, D.C., which was the hub of the conspiracy with the

FBI at the vortex of the cover-up. These actions include, but are not limited

to, the FBI’s submission of fraudulent NCIC reports to the Senate Judiciary

Committee. (See Complaint ¶ 117, 118, 119 & 120.) A second example of


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the numerous covert acts conducted within the forum was the use of national

security to hide incriminating documents to subvert the constitutional rights

of the plaintiffs. (See Complaint ¶ 123, 140 & 236.) Additional examples

of applicable covert acts are listed throughout the complaint.

          Additionally, all records of the actions taken by the central

perpetrators, the agents and employees of the FBI are kept in Washington

and such records were concealed from plaintiffs by the actions of the FBI in

Washington, DC. As a co-conspirator, defendant Saleeby is held responsible

for all of the actions of the conspiracy. Therefore, the third prong of the

Manook test is satisfied. These allegations are sufficient to confer on this

Court personal jurisdiction over defendant Jay Saleeby in these plausible

claims.

                   Additional Case Law Considerations:

      South Carolina decisions also support the proper jurisdiction, would

be the DC Federal District Court. A plaintiff must only make a prima facie

showing that the court has jurisdiction over the defendant for the civil action

to continue, and allegations in the complaint to this effect are normally

sufficient to warrant exercise of jurisdiction. Brown v. Investment

Management and Research, Inc., 475 S.E.2d 754, 756 (1996). The court

must take as true the allegations of the non-moving party and resolve all


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factual disputes in the non-movants’ favor. Id. at 756. Whenever a plaintiff

alleges a civil conspiracy perpetrated by both residents of a state and non-

residents, there is personal jurisdiction over the non-residents as long as

some of the actions of the conspiracy occurred within the state. Hammond

v. Butlert, Means, Evans, & Brown, 388 S.E.2d 796, cert. denied, 498

U.S. 952, 111 S. Ct. 373, 112 L.Ed.2d. 335 (1990).

      Plaintiffs also allege in the Complaint, that defendant Jay Saleeby

was knowingly involved with forged documents related to a bogus chain of

custody purportedly documenting the FBI’s handling of evidentiary

materials. (See Complaint ¶ 123, 124 & 125.)

      It is premature to have defendant Jay Saleeby dismissed from

this lawsuit until discovery is conducted to determine the extent of his role

as a matter of factual record, especially in light of the factual questions that

are not in dispute which would show someone took overt actions and the

question is who.

IV. This Court Has Supplemental Jurisdiction Over Plaintiffs’ State
Law Claims.

      Along with the federal claims for violation of the plaintiffs’ civil

rights, plaintiffs have alleged various state law claims against defendants,

including defendant Jay Saleeby. Federal courts have supplemental



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jurisdiction over any state law claims, which form part of the same case or

controversy. 28 U.S.C. § 1367. The central concern in deciding whether to

assert supplemental jurisdiction over state law claims is the burden on the

parties and the judicial system if the state law claims are not retained and the

plaintiffs are forced to file several suits in several jurisdictions. United

Mine Workers of America v. Gibbs, 383 U.S. 715, 86 S. Ct. 1130, 16

L.Ed.2d. 218 (1996).

      In the present case, all of the plaintiffs’ claims are related to a

conspiracy emanating from the FBI in Washington, DC, and involve FBI

personnel who report to FBI Headquarters in Washington DC, who are

assigned by FBI Headquarters in Washington, DC, to duty in West Virginia,

Virginia, North Carolina and South Carolina.

      The plaintiffs allege in the complaint the FBI involved other

individuals and entities in various states in which the defendants engaged in

a pattern of harassment, extortion, racketeering and oppression, in an attempt

to discredit the plaintiffs and to a cover-up of crimes related to taking control

of plaintiffs’ business and denying plaintiffs constitutionally guaranteed

rights. It would be extremely burdensome and cost prohibitive to break

apart all of the various claims and require the plaintiffs to pursue this

litigation piecemeal in various state courts in Georgia, West Virginia,


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